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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

United States of America, ex rel.,              )
Michael K. Drakeford, M.D.,                     )
                                                )       C.A. No. 3:05-cv-2858-MBS
                       Plaintiff,               )
                                                )
               v.                               )
                                                )
Tuomey, d/b/a Tuomey Healthcare                 )
System, Inc.,                                   )
                                                )
                       Defendant.               )
                                                )


    DEFENDANT’S RESPONSE TO THE GOVERNMENT’S MOTION FOR ENTRY OF
                 JUDGMENT UNDER THE FALSE CLAIMS ACT

                                         INTRODUCTION

       Defendant Tuomey Healthcare System, Inc. (“Tuomey”), by its undersigned attorneys,

submits the following Response to the Government’s Motion for Entry of Judgment under the

False Claims Act (Dkt. 818). 1

       The jury found that Tuomey violated the Stark Law and the False Claims Act (“FCA”).

In special interrogatories, the jury also found that the total number of claims submitted in

violation of the FCA was 21,730 and the total value of those claims was $39,313,065. The jury

was not requested to determine and therefore did not decide whether or to what extent the

Government suffered actual damage or loss as a result of the payment of claims submitted by

Tuomey. Furthermore, there was no evidence presented that the services were not medically

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       Tuomey is also filing a Renewed Motion for Judgment as a Matter of Law and/or for a New Trial
       (“Rule 50/59 Motion”), a Renewed Motion for Summary Judgment and/or Judgment as a Matter of Law on
       the Government’s Equitable Claims and a Motion to Require the Government to Elect Remedies
       contemporaneously with this Response. Tuomey incorporates herein all of the arguments offered in
       support of those Motions to the extent relevant to this Response. Nothing in this Response should be
       construed to waive any arguments offered now or later in support of those Motions.



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necessary, that the medical services for which claims were submitted were not performed, or that

Tuomey overcharged for the medical services provided. In fact, there was not a legally sufficient

evidentiary basis presented that would prove the Government suffered any damages as a result of

anything Tuomey did. Nor was there any evidence that the claims submitted were the result of

Stark-prohibited referrals.

       Nevertheless, the Government wants this Court to enter judgment in its favor under the

FCA in an amount three times the dollar value stated by the jury in its answer to the verdict form

interrogatories, and to impose a civil penalty of $5,500 for each of the 21,730 claims that the jury

said were submitted in violation of the FCA, for a total of $237,454,195. Such an award would

destroy the only hospital in Sumter County.          This would be catastrophic for the Sumter

community, as evidenced by the attached resolution from the Sumter County Legislative

Delegation and letters from the Sumter Smart Growth Initiative and Sumter Economic

Development.

       For the reasons stated in Tuomey’s Rule 50/59 Motion, the Government is not entitled to

judgment under the FCA. Therefore, judgment should be entered in favor of Tuomey. But apart

from the Rule 50 and Rule 59 considerations, the Government is not entitled to treble damages

totaling $117,939,195. The Government failed to present evidence at trial sufficient to prove

that Tuomey presented claims for Stark-prohibited referrals. For that reason and others, it failed

to present evidence of any false claims. In addition, the FCA only permits the trebling of net

losses that the Government suffered as a result of a violation of the FCA. Here, the Government

failed to prove that it suffered any financial loss as a result of the presentment of the allegedly

false claims. Therefore, the Government is not entitled to an award of treble damages.




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        The Government also is not entitled to judgment for civil penalties in the amount of

$5,500 per claim for 21,730 claims. Again, the Government failed to prove the existence of any

Stark-prohibited referrals or the presentment of any false claims. Even if the Court finds the

Government did adequately prove Tuomey submitted claims for Stark-prohibited referrals,

however, imposing the requested total civil penalties of $119,515,000 would violate the Eighth

Amendment’s Excessive Fines Clause as well as the Fifth Amendment’s Due Process

protections.    Under these circumstances, when the Government requests penalties that are

excessive and unconstitutional, the FCA does not afford the Court discretion to fashion an

alternative penalty that would not violate the Constitution. Therefore, the Court should refuse to

award any civil penalties to the Government.

        In the alternative, the Court can properly determine based on the facts of the case that the

number of claims for penalty calculation purposes should be based on the number of Medicare

cost reports submitted by Tuomey during the period in question, which in this case is four. As

more fully explained below, the cost reports, not the Medicare claims forms, are the only things

that could be considered as false claims for the purpose of the FCA. 2

                                                ARGUMENT

I.      THE GOVERNMENT IS NOT ENTITLED TO THREE TIMES THE VALUE OF
        THE CLAIMS IDENTIFIED BY THE JURY

        A.      The Government Failed to Prove the Submission of Any False Claims

        As a threshold matter, the Government’s claims for treble damages and statutory

penalties are barred by the fact that the Government failed to present evidence of any Stark-

prohibited referrals or of any claims or services provided by Tuomey that resulted from any

Stark-prohibited referrals. As explained more fully in Tuomey’s Rule 50/59 Motion, the number

2
        Tuomey of course denies that anything in those cost reports was false.



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of alleged claims and dollar amounts presented to the jury by the Government was based on

inaccurate and unreliable testimony by Thomas MaCurdy and Ruben Steck that among other

things did not comply with the requirements of FRE 1006 governing summary testimony. 3 See

U.S. ex rel. Bunk v. Birkart Globistics GmbH & Co., 2011 WL 5005313, at *6-9 (E.D. Va.

Oct. 19, 2011) (“Bunk I”) and analysis set forth in the Rule 50/59 memorandum. There was also

a complete failure of proof at trial of any Stark-prohibited referrals to Tuomey hospital made by

any of the part-time employed physicians. The only evidence offered by the Government in

support of its contention that referrals were made was allegedly derived from the Medicare UB-

92 and UB-04 claims forms. As the testimony at trial indicated (and as more fully explained in

Tuomey’s Rule 50/59 memorandum), these forms were not designed to capture and do not

identify “the request or establishment of a plan of care by a physician which includes the

provision of the designation of a designated health service” which, according to the Stark Law,

“constitutes a ‘referral’ by a ‘referring physician.’” 42 U.S.C. §1395nn(h)(5)(B); see also

42 C.F.R. §411.351. As the Court correctly observed at the January 15, 2013 motions hearing

“the plain wording of the [Stark] statute...prohibits payment if those claims are a result of

referrals from physicians with whom the hospital has a financial relationship.” Dkt. 737a 41:4-6.

       The Government utterly failed to prove the existence of any referrals by these physicians,

or the existence of any claims that resulted from any prohibited referrals. Therefore, there were

no false claims for which damages could be trebled or any penalty assessed.




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       Steck was also not qualified as an expert by the Court because his work was not the product of reliable
       principles and methods as required by FRE 702. This makes the Government’s claims evidence even more
       suspect.



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       B.      The Government Failed to Prove or Provide Any Evidence of Any Damages
               and Therefore Cannot Obtain an Award of Treble Damages

       There was no evidence presented that the Government suffered any financial loss or

damages resulting from any claims submitted by Tuomey to Medicare. The FCA, which was the

sole claim tried to the jury, imposes liability for the amount of damages that the Government

sustains. 31 U.S.C. §3729(a). The Government did not attempt to prove (because it could not)

that unnecessary services were provided or that Tuomey overcharged for the services. Before

the Government can obtain a treble damages award, the Government must first prove a financial

loss for which it is entitled to compensatory damages. In United States v. Bornstein, the Supreme

Court explained:

               We think the chief purpose of the (Act’s civil penalties) was to
               provide for restitution to the government of money taken from it
               by fraud, and that the device of double damages plus a specific
               sum was chosen to make sure that the government would be made
               completely whole. United States ex rel. Marcus v. Hess, 317 U.S.,
               at 551-552, 63 S.Ct., at 387-388, 87 L.Ed. 443. For several
               different reasons, this make-whole purpose of the Act is best
               served by doubling the Government’s damages before any
               compensatory payments are deducted.

423 U.S. 303, 314-15 (1976). 4

       Court decisions following Bornstein have overwhelmingly concluded that the FCA only

permits the trebling of the net losses suffered by the Government, subtracting the value of the

goods or services provided from the gross payments. See, e.g., United States ex rel. Feldman v.

Gorp, 697 F.3d 78, 87-88 (2d Cir. 2012) 5; United States v. United Technologies Corp., 626 F.3d


4
       As explained below, subsequent Supreme Court decisions have also held that the FCA has a punitive
       purpose as well.
5
       Feldman involved research grant awards and the Court determined that the United States did not receive
       any value as a result of the grants and therefore did not deduct anything from the gross payments made to
       the Defendant. Nevertheless, the Second Circuit employed a net trebling approach. See United States v.
       Anchor Mtg. Co., 711 F.3d 745, 750 (7th Cir. 2013).



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313, 321-22 (6th Cir. 2010); United States v. Science Applications International Corp., 626 F.3d

1257, 1279 (D.C. Cir. 2010) (SAIC); Commercial Contractors, Inc. v. United States, 154 F.3d

1357, 1372 (Fed. Cir. 1998).

       Most recently, the Seventh Circuit Court of Appeals in United States v. Anchor Mortgage

Co. ruled that only net losses may be trebled under the FCA. The Court explains:

              The False Claims Act does not specify either a gross or a net
              trebling approach. Neither does it signal a departure from the
              norm – and the norm is net trebling. The Clayton Act, which
              created the first treble-damages action in federal law, 15 U.S.C.
              §15, has long been understood to use net trebling. The court finds
              the monopoly overcharge – the difference between the product’s
              actual price and the price that would have prevailed in competition
              – and trebles that difference. See, e.g., Illinois Brick Co. v. Illinois,
              431 U.S. 720, 97 S.Ct. 2061, 52 L.Ed.2d 707 (1977). A gross
              trebling approach, parallel to the one the district court used in this
              suit, would be to treble the monopolist’s price, then subtract the
              price that would have prevailed in competition. If there is a reason
              why the courts should use net trebling in antitrust suits and gross
              trebling in False Claims Act cases, it can’t be found in §3729 – nor
              does the United States articulate one.

711 F.3d 745, 749 (7th Cir. 2013).

       Accordingly, the Fourth Circuit in U.S. ex rel. Harrison v. Westinghouse Savannah River

Co. defined the measure of damages under the FCA as follows:

              We suggested this measure of damages in Harrison I when we
              noted that the plaintiff had sufficiently alleged that the false
              statements made by Westinghouse “caused the government to pay
              ‘claims’ at a higher cost than it would have paid absent the fraud.”
              176 F.3d at 794. This view is consistent with the text of the FCA,
              which provides for recovery of “damages which the Government
              sustains because of the act of” the defendant. 31 U.S.C. §3729(a).
              This approach also furthers an important purpose of the FCA,
              which is to make the government completely whole. United States
              ex rel. Marcus v. Hess, 317 U.S. 537, 551-52, 63 S.Ct. 379, 87
              L.Ed. 443 (1943).

352 F.3d 908, 922-23 (4th Cir. 2003).




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       The D.C. Circuit clearly articulated this point in U.S. ex rel. Davis v. Dist. of Columbia,

679 F.3d 832 (D.C. Cir. 2012), in which the court recognized the principle that FCA “damages

are meant to put[] the government in the same position as it would have been if the defendant’s

claims had not been false.” Id. at 839 (quotation omitted). In Davis, an agency of the District of

Columbia’s Medicaid program was sued under the FCA for paperwork deficiencies related to its

program of transporting special education students. Id. at 834 (outlining factual background).

Remanding the case to the district court, the court of appeals set out the Government’s two-part

burden in a case like Tuomey’s where the Government is not damaged: “[1] [t]o establish

damages, the government must show not only that the defendant’s false claims caused the

government to make payments that it would have otherwise withheld, [2] but also that the

performance the government received was worth less than what it believed it had purchased.”

Id. (quotation omitted).

       Just as in Davis, “the government [is] not entitled to recover all of its payments,” and is,

at most, entitled to “the difference in value between ‘services tainted by potential conflict’ and

the untainted services promised.” Id. at 839-40 (quoting SAIC, 626 F.3d 1257, 1280 (D.C. Cir.

2010)). The answer in this case is zero. Also like Davis, the Government “does not allege that

any services paid for were not provided.” Id. In fact, Tuomey’s patients at issue in this case

received excellent medical care; care for which the Government was obligated to pay anyway.

Thus, “[u]nlike the contractor’s undisclosed conflicts in [SAIC], the defect in this case in no way

calls into question the value of the medical care provided by” Tuomey. Id. Because the

Government got exactly what it paid for “[t]his is the rare case in which there is no allegation

that what the ‘government received was worth less than what it believed it had purchased,’” and

instead “[t]he government got what it paid for and there are no damages.” Id.




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       Also, a district court in the Fourth Circuit recently stated that “the amount the

government paid over and above what the government would have paid if not for the fraudulent

activity” is “precisely the type of evidence needed to establish and calculate damages under the

FCA.” U.S. ex rel. Bunk v. Birkart Globistics GmbH & Co., 2012 WL 488256 (E.D. Va.

Feb. 14, 2012) (“Bunk II”). The defendants in Bunk falsely certified that their bids to the military

for contracts to move service members’ belongings were not the product of collusion. As the

Bunk II opinion explained: “The Marcus Court used a ‘but for’ test in its analysis of FCA

damages. In other words, a court should ask the question of, ‘How much would the government

have paid for the item at issue ‘but for’ the fraudulent actions of the defendant?’” Id. at *5

(quoting United States ex rel. Roby v. Boeing Co., 79 F.Supp.2d 877, 884 (S.D. Ohio 1999),

citing United States ex rel. Marcus v. Hess, 317 U.S. 537, 551-52 (1943)). In order to prove an

FCA violation, the Government must show not only that Tuomey’s Medicare claims caused the

Government to make payments that it would have otherwise withheld, but also that the

performance the Government received was worth less than what it believed it had purchased.

Davis, 679 F.3d at 839.

       Here, there was no evidence that the Government paid for medical services that were not

delivered to the Medicare beneficiaries. In fact, the Government never claimed that Tuomey

failed to provide services to its patients as billed, or that any of Tuomey’s services were not

medically necessary. The Government therefore proved no damages that it could recover under

the FCA. The Government failed to prove that “but for” the alleged Stark violations, it would

have paid any less for the services required by the Medicare beneficiaries who received

Tuomey’s services. 6 Because the Government has not lost anything, an award of treble damages

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       Claims for services rendered in violation of a statute do not necessarily constitute false or fraudulent claims
       under the FCA. Gonzalez v. Fresenius Med. Care N. Am., 689 F.3d 470, 475 (5th Cir. 2012).


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is not permitted. Lastly, as discussed below, the Eighth Amendment Excessive Fines prohibition

also bars trebling of the total value of claims the jury determined were paid to Tuomey in

violation of the FCA under the circumstances of this case.

II.      THE CIVIL PENALTIES REQUESTED BY THE GOVERNMENT SHOULD
         NOT BE IMPOSED AGAINST TUOMEY

         In addition to treble damages (for a total of $117,939,195), the Government also seeks

the imposition of a $5,500 penalty for each of the 21,730 claims identified by the jury, for a total

of $119,515,000 more in judgment. Because the Government has failed to prove the submission

of false claims; because, in any event, the imposition of $119,515,000 in penalties alone would

be unconstitutional; and because the Court lacks discretion to reduce the penalty amount

statutorily required, the Court should not impose civil penalties in any amount against Tuomey.

         A.     Because the Government Failed to Provide Evidence of False Claims, It Is
                Entitled to No Penalties

         As indicated above, the Government failed to prove at trial that any part-time employed

physician made any Stark-prohibited referrals to Tuomey, and thus the Government also failed to

prove that Tuomey submitted any false claims. Civil penalties can be imposed under the FCA

only where the defendant is proven to have violated the statute’s false claim prohibitions. See 31

U.S.C. §3729(a). Thus, Tuomey is liable for no statutory penalties.

         B.     The Government’s Demand for Gross Trebling and Civil Penalties Totaling
                $119,515,000 Is Barred by the Excessive Fines Provision of the Eighth
                Amendment

                1.     Legal Standard

         The FCA’s treble damages and civil penalties provisions are subject to the Constitution’s

proscription on excessive fines. The Eighth Amendment’s Excessive Fines Clause provides that:

“Excessive bail shall not be required, nor excessive fines imposed, nor cruel and unusual

punishments inflicted.” U.S. CONST., AMEND. VIII. Applying this prohibition, the Supreme


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Court has made clear that “a punitive forfeiture violates the Excessive Fines Clause if it is

grossly disproportional to the gravity of a defendant’s offense.” United States v. Bajakajian, 524

U.S. 321, 334 (1998).

          Courts apply Eighth Amendment considerations to FCA cases, because the FCA’s treble

damages and civil penalty provisions are “essentially punitive in nature.” Vermont Agency of

Natural Res. v. United States, ex rel. Stevens, 529 U.S. 765, 784 (2000); see also United States v.

Mackby, 261 F.3d 821, 830 (9th Cir. 2001) (holding that the Eighth Amendment applies to FCA

cases).

          The Court should analyze the total amount of the judgment sought – treble damages and

civil penalties – in conducting its review under the Excessive Fines Clause. See, e.g., U.S. ex rel.

Satalich v. City of Los Angeles, 160 F.Supp.2d 1092, 1102-03 (C.D. Cal. 2001). In Satalich, the

Court found especially noteworthy the FCA’s imposition of treble damages in addition to

statutory sanctions demonstrates a statutory intent to punish. Since the Court found that the

statutory sanction represented payment to the government, at least in part, as punishment, and the

treble damages provision – at least in combination with the Act’s statutory penalty provision –

was not solely remedial, the Court concluded that both the statutory sanction and the treble

damages provisions of the FCA were punitive, and therefore, subject to analysis under the

Excessive Fines Clause. Id.

          In undertaking the excessive fines analysis, “[c]ourts have recognized a variety of

factors,” including: “(1) the extent of the harm caused; (2) the gravity of the offense relative to

the fine; (3) whether the violation was related to other illegal activity, and the nature and extent

of that activity; and (4) the availability of other penalties and the maximum penalties which

could have been imposed.” Bunk II, 2012 WL 488256 at *4 (citing, inter alia, Bajakajian,




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524 U.S. at 336-39). 7 Analysis of each of these factors demonstrates that the Government’s

sought civil penalties are unconstitutionally excessive.

        C.      The Requested Damages Are Unconstitutional

                1.       Tuomey’s Conduct, Even if Proven, Did Not Harm the Government in
                         Any Way

        With respect to the first factor, the extent of the harm caused, it is the Government’s

burden to demonstrate the harm to the public fisc. See, e.g., United States ex rel. Harrison v.

Westinghouse Savannah River Co., 352 F.3d 908, 923 (4th Cir. 2003) (The Fourth Circuit has

“decline[d] to shift the burden of proof on damages” to the defendant, noting that the FCA

“specifically places the burden of proving damages on the government”); see also United States

v. Bourseau, 531 F.3d 1159, 1173 (9th Cir. 2008) (evaluating excessiveness claim based on

findings during bench trial that the Government had proven that it “sustained harm to its

treasury”). The Government must demonstrate the harm to the treasury, and it cannot do so.

        When weighing the gravity of the harm for Eighth Amendment purposes, the Court must

consider (1) the actual damages resulting from the defendant’s conduct, and (2) the

egregiousness of the defendant’s conduct. See, e.g., Solem v. Helm, 463 U.S. 277, 292 (1983);

United States v. Eghbal, 548 F.3d 1281, 1285 (9th Cir. 2008). As discussed in greater detail

above, both factors favor Tuomey.

        The Government was not harmed by anything that Tuomey did, economically or

otherwise. The patients treated at Tuomey received excellent medical care and Tuomey received

the proper amount of reimbursement for those services under the Medicare program, 8 and the

7
        An appeal of the district court’s excessive fines holding in Bunk II is presently pending. That appeal has
        been fully briefed, and oral argument was conducted on May 14, 2013. See United States ex rel. Bunk v.
        Birkart Globistics GmbH & Co., 12-1369(L) (4th Cir.).
8
        As indicated by the attached affidavit from Tuomey’s Chief Financial Officer Mark Lovell, Tuomey
        actually lost $21,670,377 on the services it provided to Medicare patients from 2005-2008.


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government does not contend otherwise.              To properly calculate economic damages in this

framework, the Court must consider “the amount the government paid over and above what the

government would have paid if not for the fraudulent activity.” Bunk II at *5 (citing United

States ex rel. Marcus v. Hess, 317 U.S. 537, 551-52 (1943) (“We think the chief purpose of the

statutes here was to provide for restitution to the government of money taken from it by fraud

....”)); see also Harrison, 352 F.3d at 922-23. The answer in this case is zero. The Government

got what it paid for and suffered no economic harm.

        When undertaking the economic harm analysis, the Eighth Amendment does not permit a

methodology that would consider as damages all payments to Tuomey from allegedly improper

referrals to sustain an unconstitutional award. Instead, the economic harm is limited to the

amount the Government paid above what it would have paid without any fraudulent activity.

Bunk II at *5; see also United States ex rel. Stearns v. Lane, No. 2:08-cv-175, 2010 U.S. Dist.

LEXIS 96981, at *10-*13 (D. Vt. Sept. 15, 2010) (harm in housing subsidy FCA case was

excess rent, not total rent received); Coleman v. Hernandez, 490 F.Supp.2d 278, 282 (D. Conn.

2007) (same). Even if the Court were to consider the total payments to Tuomey as economic

harm, which as a matter of law it should not, the damages sought by the Government

demonstrate the gross disproportion of the penalties to the claimed damage.

        The attached affidavit from Donald Moran which, among other things, analyzes the size

of the alleged claims in the numbers presented by Ruben Steck at trial, illustrates this.9

D. Moran Aff. Of the alleged claims included in the Steck numbers that were accepted by the

jury, 13,009 (59.86% of the total) involved payments to Tuomey of less than $550 each. This

would result in a greater than 10:1 ratio of penalties to payments, which as discussed below

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        At trial, Mr. Steck testified that Mr. Moran replicated his results. Daily Transcript April 24, 2013, 111:
        14-19.



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would amount to a presumptively unconstitutional award. A total of 17,557 claims (80.78% of

the total) were under $1,375, a greater than 4:1 ratio that the Supreme Court has said would be

constitutionally suspect. State Farm Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 424-25

(2003). A total of 19,736 alleged claims (90.81% of the Steck total accepted by the jury) were

under $5,500. In fact, the Steck total included 4,719 claims that were under $100 and even three

claims for which Tuomey was paid less than $1. The median dollar amount of claims reviewed

by Mr. Steck was $392.36.        The Government’s “nickel-and-dime” approach to damages

underscores the fact that the Government’s colossal demand is unconstitutionally excessive.

       Stark Law violations, even if proven, would not create any economic harm for Eighth

Amendment purposes, which requires actual harm to the United States, as is clear from other

courts’ analysis of FCA cases. Courts recognize that “under the False Claims Act, damages

should be determined according to the actual loss suffered by the United States as a result of

false claims and not according to the total cost of a contract that may have included fraudulent

claims.” United States ex rel. Giles v. Pratt, 32 F. App’x 432, 433 (9th Cir. 2002) (citing United

States v. Bornstein, 423 U.S. 303, 317 n.13 (1976)); see also Ab-Tech Constr. Inc. v. U.S.,

31 Fed. Cl. 429, 433-34 (Fed. Cl. 1994), aff’d 57 F.3d 1084 (Fed. Cir. 1995) (court denied

Government’s demand for treble damages where the Government got what it paid for); U.S. v.

Sci. Applications Int’l Corp., 626 F.3d 1257, 1279-80 (D.C. Cir. 2010) (trial court directed to

consider the value of services defendant provided to the Government in assessing damages). In

this case, there is no evidence that the Government has been actually harmed economically at all,

as discussed above.

       The non-economic harm analysis shares some of the features described above, “including

the adequacy of the services performed and the impact of Defendants’ conduct on the integrity of




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the government contracting process.” Bunk II, 2012 WL 488256 at *7. Although the integrity of

the administration of a government program like Medicare is no doubt important, 10 just as in

Bunk II, the Government here did not suffer non-economic harm from anything that Tuomey did.

Also, just like in Bunk, the Government does not claim that Tuomey failed to provide the

services for which it was paid. Id. at *8.

         A similar analysis of non-economic harm compelled the Supreme Court to deem a

Government-requested forfeiture a violation of the Eighth Amendment where the Government’s

interest in “information regarding the amount of currency leaving the country” was “minimal”

when viewed against the $357,144 forfeiture. Bajakajian, 524 U.S. at 339. Likewise, here, the

Government does not – and cannot – contend that Tuomey’s provision of care was in any way

deficient or that there was any other non-economic harm based on the 19 part-time physician

contracts at issue. As in Bunk and Bajakajian, the request for treble damages and penalties in

this case when compared with the Government’s economic and non-economic interests

demonstrate the requests’ unconstitutionality.

                 2.       The Severity of the Fine Far Outweighs the Gravity of the Alleged
                          Offense

         The jury said that Tuomey violated the Stark Law. Except for the knowledge element of

the indirect compensation arrangement exception, the Stark Law is a strict liability civil statute.

69 Fed. Reg. 16062 (March 26, 2004). However, as evidenced by the parties’ prior briefings

before this Court, as well as the byzantine Stark regulations and hundreds of pages of CMS

commentary published on at least four separate occasions over a seven-year period, determining




10
         As discussed in greater detail in its Rule 50/59 Motion, Tuomey denies that Medicare’s program integrity
         was compromised in any way.



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whether a particular arrangement between a hospital and physician complies with the law can be

very complicated and the answer often is unclear.

         Because of those complexities, as the trial testimony unequivocally established and as

more fully discussed in Tuomey’s Rule 50/59 Motion, Tuomey consulted with multiple law

firms and a fair market value consultant, and received opinions as to the fair market value,

commercial reasonableness and legality of the contracts. As Troy Barsky, the CMS official

responsible for interpreting the Stark Law, said in his 30(b)(6) deposition that was entered into

evidence at the trial, it is up to the parties to the transaction to determine if a financial

relationship is commercially reasonable and compensation is at fair market value. 11 Barsky

depo. Dkt. 789, 40:12-17; 65:22-66:3.                Barsky’s 30(b)(6) testimony is binding on the

Government. QBE Ins. Corp. v. Jorda Enterprises, Inc., 277 F.R.D. 676 (S.D. Fla. 2012); Ierardi

v. Lorillard, 1991 WL 158911, at *4 (E.D. Pa. Aug. 13, 1991).

         The fact that Tuomey’s determination that the contracts were commercially reasonable

and paid fair market value is sufficient (and not subject to Government second-guessing) is also

consistent with the “Prohibition Against Federal Interference” set forth in very first section of the

Medicare statute of which the Stark Law is a part. That section says:

                 Nothing in this subchapter shall be construed to authorize any
                 Federal officer or employee to exercise any supervision or control
                 over the practice of medicine or the manner in which medical
                 services are provided, or over the selection, tenure, or
                 compensation of any officer or employee of any institution, agency,
                 or person providing health services; or to exercise any supervision
                 or control over the administration or operation of any such
                 institution, agency, or person.
42 U.S.C. §1395 (emphasis added). Tuomey fully complied with any obligations it may have

had even if the Stark Law applied to the contract, which it did not.
11
         CMS is statutorily prohibited from issuing advisory opinions on fair market value. Barsky depo. Dkt. 789,
         57:4-9. See also 42 U.S.C. §1320a-7d(b)(3)(A); §1395nn(g)(6)(B).



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       Tuomey also disclosed the contracts to the Government when the Relator raised questions

about their legality. Tuomey’s disclosure of the contracts to the Government and subsequent

cooperation with the Government during the investigation that preceded the Government’s

intervention in this suit would in and of itself be grounds for reduced damages under 31 U.S.C.

§3729(a)(2). Moreover, the law in the Fourth Circuit is clear that government knowledge of the

underlying facts will defeat an FCA action. U.S. ex rel. Becker v. Westinghouse Savannah River

Co., 305 F.3d 284, 289 (4th Cir. 2002); U.S. ex rel. Ubl v. IIF Data Solutions, 650 F.3d 445, 452

(4th Cir. 2011) cert. denied, 132 S. Ct. 526, 181 L. Ed. 2d 352 (U.S. 2011). U.S. ex rel. Owens v.

First Kuwaiti General Trading and Contracting Co., 612 F.3d 724, 729 (4th Cir. 2010).

       As the Fourth Circuit ruled in United States ex rel. Drakeford v. Tuomey, 675 F.3d 394,

399 (4th Cir. 2012), the only relevant procedures in this case are outpatient procedures

performed pursuant to the physicians’ employment contracts. This is a key part of the mandate

to this Court. The most the Government can argue it suffered as a result of the Tuomey contracts

was that theoretically some of the outpatient surgery procedures that the employed doctors

performed at Tuomey hospital might have been performed instead at the Westmark ambulatory

surgery center. In the first place, such an assertion would be entirely speculative. There was

absolutely no evidence presented at trial to show that either: (1) the patients or doctors would

have chosen Westmark over Tuomey; (2) Westmark would have the capacity to handle those

surgeries; or (3) the surgeries would have been clinically appropriate to perform at an ambulatory

surgery center.

       In the first trial, Mr. Steck testified that the total amount paid to Tuomey for outpatient

surgery claims performed by the employed physicians at Tuomey (what he called “Practice

Group Related Claims”) was $7,359,304. Tr. 1268:4-1269:22. Mr. Moran calculated that Steck’s




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data reports a count of 10,663 claims and a count of dollars of $6,212,638 for outpatient surgery

services performed at Tuomey from October 1, 2005 through June 30, 2009 (the period for

which the jury calculated claims and dollars). Moran Affidavit. Mr. Moran further calculated

the differential between what the Government paid Tuomey and what it would have paid

Westmark if all the outpatient surgery work that could go to Westmark did go to Westmark

(which it did not and could not). This differential is $565,312 and involves only 5,046 claims.

Id. This is the most that the Government could ever claim it lost as a result of the employed

doctors doing outpatient surgery at Tuomey rather than Westmark. The judgment sought by the

Government – $237,454,195 – is more than 420 times this amount.

                 3.       Tuomey’s Alleged Conduct in This Case Is Not Connected to Other
                          Illegal Conduct

         Tuomey’s lack of any illegal conduct related to the Government’s allegations or

otherwise, is another reason to find the requested damages excessive. The Stark Law-related

allegations in this case are the only allegations of improper conduct. In contrast, the defendant in

Bunk was engaged in a price-fixing conspiracy, for which the Government obtained several

convictions pertaining to other contracts. See 2012 WL 488256, at *1. But even in that case, the

court held that the illegal conduct related to those other claims under a separate contract was not

sufficiently related to the conduct at issue in the trial (even though the original FCA complaint

alleged violations of both contracts).            Id. at *9.      There are no allegations of additional

misconduct in this case. 12        Like the Supreme Court in Bajakajian, it is a significant and



12
         The Government made repeated references to the Anti-kickback statute (“AKS”), 42 U.S.C. §1320a–7b(b),
         during the trial, in an effort to confuse and prejudice the jury, even though the Government never alleged
         that Tuomey had violated the AKS. In any event, the AKS does not apply to employment contracts, 42
         U.S.C. §1320a-7b(b)(3)(B), and the OIG has issued an advisory opinion stating that part-time employment
         contracts like the ones at issue in this case would not implicate the AKS. OIG Adv. Op. 08-22.
         http://oig.hhs.gov/fraud/docs/advisoryopinions/2008/AdvOpn08-22.pdf.



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mitigating fact that the conduct in this case was “unrelated to other illegal activities.” 524 U.S.

at 337-38.

       A sharper contrast emerges when one compares Tuomey’s conduct with the defendant’s

conduct in United States v. Ahmad, 213 F.3d 805 (4th Cir. 2000). The court there approved

penalties arising out of a structuring violation that “bore an intimate connection” to a larger

scheme illegally skirting customs duties. The Court is quickly able to see that Tuomey is not in

the same category. Tuomey’s contracts with the physicians are the only allegedly improper

conduct at issue in this case, and that fact mitigates Tuomey’s culpability in the Eighth

Amendment analysis and renders the proposed $119,515,000 in civil penalties excessive.

               4.     The Government’s Requested Damages Are Unconstitutionally
                      Disproportional to Other Related Penalties

       Noting the “surprisingly little jurisprudence concerning how to determine whether a civil

penalty is disproportional to harm,” the court in Bunk II rejected a simple multiple, because

there, as here, the Government did not suffer any damages. See 2012 WL 488256, at *10.

Instead the court considered the following four factors, each of which counsels in favor of

rejecting the Government’s penalty request in this case:

               (1) the relationship of the mandated civil penalties to the harm, as
               discussed above; (2) the benefits Defendants derived from the
               illegally procured...contract; (3) the deference to be afforded to
               legislative judgments as reflected in the statutory language; and
               (4) the criminal penalties that pertain to the subject matter of
               Defendants’ conduct, as well as certain other more explicit civil
               penalties.

Id.

       As discussed above, and as in Bunk II, “the government did not sustain any demonstrable

damages and therefore the mandated civil penalties of at least approximately” $119,515,000

“cannot be expressed or justified as a multiple of those damages.” Id. In addition, in the context



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of punitive damages, the Supreme Court recognizes that awards exceeding a 4:1 ratio of punitive

to actual damages “might be close to the line of constitutional impropriety.” State Farm Mut.

Auto Ins. Co. v. Campbell, 538 U.S. 408, 424-25 (2003). The Government in this case has not

been damaged, and the requested civil penalties and treble damages therefore obliterate the

relevant proportionality measures relating to actual damages.

       Regarding whether there was a benefit to Tuomey, the hospital actually experienced a net

loss of $21,670,377 from Medicare for the fiscal years 2005-2008, i.e., it received less than what

it cost to provide services to Medicare patients during the time at issue in this case. Affidavit of

Mark Lovell. There is no evidence of any profit received by Tuomey with respect to services

provided to patients of the employed physicians whose contracts were at issue in this case. Even

if there were such evidence, just like in Bunk II, “[t]here is nothing about this level of gain that

would justify the minimum mandated civil penalty” that the Government seeks in this case.

2012 WL 488256, at *10.

       Statutory penalties must yield to the Constitution.         Indeed, “there is nothing in the

language Congress adopted in the False Claims Act that suggests that Congress ever

contemplated that civil penalties would be imposed at the level required here under facts similar

to this case.” Id. It is the courts, and not the legislature, that have used the “per claim”

mechanism to ratchet up the civil penalty amounts to their current astronomically high level.

       As the court in Bunk II correctly recognized, the FCA permits civil penalties for

violations of the statute, but “Congress did not say, as it did in other federal statutes, that a civil

penalty shall be assessed for each false claim or that a Court, in its discretion, may impose a civil

penalty up to a certain amount.” Id. The plain language of the statute provides simply that any

person who violates the statute’s false claim prohibitions “is liable to the United States




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Government for a civil penalty of not less than $[5,500] and not more than $[11,000].”

31 U.S.C. §3729(a).

         Finally, the relevant criminal fines under the FCA’s criminal analog underscore the

excessiveness of the penalties sought in this case. 13 As the Bunk II court noted, the criminal

FCA and its corresponding fine provision permit a fine of “not more than $500,000” or “not

more than the greater of twice the gross gain or twice the gross loss” 2012 WL 488256, at *11

n.14 (citing 18 U.S.C. §287 and quoting 18 U.S.C. §3571(c)(3), (d)). As discussed above, the

Government in this case suffered no financial loss and Tuomey benefited from no financial gain,

and thus the appropriate fine under the criminal provision would be $0 or the statutorily

stipulated $500,000.        But even if the Court accepts the Government’s position that the

Government suffered $39,313,065 in damages by virtue of paying Medicare claims for quality

services provided to Medicare beneficiaries, the $119,515,000 penalty that the Government seeks

would exceed significantly the permissible criminal fine of two times $39,313,065 ($78,626,130

total). Even assuming the Government’s civil penalties theory of imposing $5,500 per claim

under those provisions, the low-end penalty is plainly unconstitutional and shocks the

conscience.      See 2012 WL 488256, at *11 (“It would nonetheless appear that however

calculated, the maximum criminal fines that could be imposed for the Defendants’ conduct...,

were it a proper basis for a criminal sanction, would be a small fraction of the civil penalties

mandated under the FCA on the facts of this case.”). The relevant criminal fines in this area

demonstrate that the Government’s sought penalties in this case are unconstitutionally excessive.




13
         Tuomey has not been charged with any crimes nor did it or anyone acting on its behalf engage in criminal
         behavior.



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               5.     The Award Sought by the Government Would Violate Tuomey’s Due
                      Process Rights

       The amount of damages demanded by the Government would also violate the Due

Process Clause of the Fifth Amendment. Courts have held that punitive damages can violate the

due process rights of defendants if they are excessive. As the Supreme Court has stated, awards

exceeding a 4:1 ratio of punitive to actual damages “might be close to the line of constitutional

impropriety” and a 10:1 ratio would almost always be a due process violation. State Farm Mut.

Auto Ins. Co. v. Campbell, 538 U.S. 408, 424-25 (2003). Excessive damage awards have also

been held to amount to a taking of property from the defendant without due process. Philip

Morris USA v. Williams, 549 U.S. 346, 349 (2007). Moreover, statutory damage awards can

result in a deprivation of due process when they are “so severe and oppressive as to be wholly

disproportioned to the offense and obviously unreasonable.” St. Louis, I.M. & S. Ry. Co. v.

Williams, 251 U.S. 63, 66-67 (1919). The due process clause protects against sanctions which

are “downright irrational.” Hudson v. United States, 522 U.S. 93, 103 (1997).

       When these cases are considered in conjunction with the fact that the Government is

seeking this ruinous award based on the jury’s finding that Tuomey violated the Stark Law, the

resulting deprivation of due process becomes more apparent. As explained more fully in the

Rule 50/59 Motion (consistent with its position throughout this litigation), Tuomey did not

violate the Stark Law. In fact, the Stark Law did not apply to the contracts in question because

the compensation of the physicians was only based on their personally performed professional

services and thus by definition did not vary with or take into account referrals because personally

performed professional services do not constitute referrals.

       As Attorney Steve Pratt pointed out in his opinion letter to Tuomey and his unrefuted

testimony at trial, this position is based on the Stark regulations and on the CMS commentary to



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those regulations. Tuomey justifiably relied on his advice and interpretation of the commentary,

which has consistently established a “bright line” rule with respect to the volume and value

standard. See, e.g., 66 Fed. Reg. 877 (Jan. 4, 2001). That is why the Fourth Circuit stated that

the jury was to decide “whether the contracts, on their face, took into account the volume or

value of anticipated referrals.” U.S. ex rel. Drakeford v. Tuomey, 675 F.3d at 409 (emphasis

added).

          The only explanation for the jury’s verdict, then, is that the jury read into the law a

subjective intent element which does not appear in the statute, regulations or commentary. To

the extent that the jury based its verdict on a heretofore unrecognized subjective intent standard,

imposing a colossal damage award would deny Tuomey due process since it did not have fair

warning of what the law prohibited. Such a result would offend fundamental notions of fairness.

U.S. v. Pennsylvania Indus. Chemical Corp., 411 U.S. 655, 674 (1973). Due process requires that

a defendant receive fair warning as to what conduct the Government intended to prohibit. United

States v. Martinez, 92 F.3d 1183 (4th Cir. 1996).

          As the Fourth Circuit observed:

                 There can be no doubt but that the statutes and provisions in
                 question, involving the financing of Medicare and Medicaid, are
                 among the most completely impenetrable texts within human
                 experience. Indeed, one approaches them at the level of specificity
                 herein demanded with dread, for not only are they dense reading of
                 the most tortuous kind, but Congress also revisits the area
                 frequently, generously cutting and pruning in the process and
                 making any solid grasp of the matters addressed merely a passing
                 phase.

Rehab. Ass’n of Virginia, Inc. v. Kozlowski, 42 F.3d 1444, 1450 (4th Cir. 1994). This is

especially true with respect to the Stark Law, which is part of the Medicare statute. The

regulations and commentary about what the Stark Law means have been issued in four phases




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and run on for hundreds of pages. Even the Government’s 30(b)(6) witness, Mr. Barsky, had

difficulty explaining the regulations in his deposition testimony read at trial and at one point said

that he would need to consult with his attorneys about whether the commentary had the force of

law. Barsky depo. Dkt. 789, 61: 2-8. As one court has observed: “The Congress hoped that the

Stark law would provide ‘bright line rules’ to guide physicians and health care providers. For a

variety of reasons, this objective has proven elusive.” United States ex rel. Villafane v. Solinger,

543 F.Supp.2d 678, 685 (W.D. Ky. 2008). Awarding damages in the nine-digit range based on a

jury finding that Tuomey violated a law that even the Government’s own official interpreter

cannot explain, and to which now the jury has apparently added a subjective intent element,

would be “severe and oppressive” and “obviously unreasonable” so as to violate Tuomey’s due

process rights.

       D.         Because an Award of Civil Penalties at the Level the Government Seeks
                  Would Be Unconstitutional, No Such Penalties Should Be Awarded

       Where, as here, the civil penalties to be imposed are constitutionally impermissible, no

civil penalty is appropriate. The most recent example of a court determining that the FCA’s civil

penalties regime violates the Constitution in a particular case is Bunk II. There, the court

determined that the defendant provided 9,136 invoices reflecting pricing that was obtained in

violation of the contract with the Government and therefore “each of these invoices constitutes a

false claim for the purposes of assessing a penalty under the” FCA. 2012 WL 488256, at *4.

       In closely considering the issue, the court in Bunk II ruled that “having determined that

the mandatory, nondiscretionary penalty imposed under the FCA is unconstitutional as applied in

this case, the Court concludes that it does not have the discretion to fashion some other civil

penalty other than the one required by statute, as that statute has been construed by the Fourth

Circuit.” Id. at *11. The court canvassed other FCA cases in which the courts there fashioned a



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lower, constitutionally permissible penalty. Id. at *12 (collecting authorities). Nevertheless, the

court determined that it lacked the discretion to order a reduced penalty in light of the fact that

“Congress mandated a civil penalty that authorized the courts to exercise a certain scope of

discretion but no more,” or more to the point, “the FCA authorizes a court to set the amount of

the penalty within a certain range, but does not grant the court authority to impose a total penalty

below the amount derived after the exercise of that discretion within the prescribed range.” Id.

       Bunk is not the only court to determine that no civil penalties are to be awarded when the

result is an unconstitutionally excessive fine. In United States v. Cabrera-Diaz, 106 F.Supp.2d

234, 242 (D.P.R. 2002), the court considered the proper quantum of damages for overpayments

of anesthesia time in the amount of $237,600.39 for the year 1994 and $211,773.89 for the year

1995, representing a total of $449,374.28. See id. at 237. Based on an audit indicating that 455

of 461 sampled claims were overstated, the court determined that the “not discretionary” civil

penalties that “would range between $2,275,000.00 and $4,550,000.00” were unconstitutionally

excessive. 106 F.Supp.2d at 242. The relationship of civil penalties to the Government’s

claimed damages for the two years is 5.06:1 at the low end and 10.1:1 at the high end. Because

the Government has not been damaged by Tuomey’s conduct at all, any resulting ratio of

imposed multi-million dollar civil penalties would be unconstitutional. As the court did in

Cabrera-Diaz, this Court should “deem this amount to be excessive and therefore no civil

penalties are hereby imposed.” Id.; see also United States v. Fadul, 2013 WL 781614, at *13

n.15 (D. Md. Feb. 28, 2013) (“It is questionable whether [a demand for] a civil penalty of

$151,118,000.00 – could withstand constitutional scrutiny.”).

       Congress’s intent to restrict the Court’s discretion in imposing civil penalties is evidenced

by the FCA’s explicit language imposing a civil penalty “not less than” $5,500 and “not more




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than” $11,000 on “any person who” commits an FCA violation. See 31 U.S.C. §3729(a)(1) (as

adjusted for inflation). In contrast, within the same section, Congress provided for “reduced

damages” allowing the court to reduce the defendant’s liability to “not less than 2 times the

amount of damages” under certain circumstances. See id. §3729(b). Congress’s inclusion of

reduced damages, coupled with “not less than” and “not more than” language in the same section

of the statute, is strong evidence of Congress’s intent to limit the court’s discretion and not allow

the court to impose lower penalty amounts or lower levels of damages. Cf. Westfarm Assocs.

Ltd. P’shp v. Washington Suburban Sanitary Comm’n, 66 F.3d 669, 678-79 (4th Cir. 1995)

(“Congressional inclusion of provisions for fee awards in some situations under CERCLA

strongly suggests a deliberate decision not to award fees in other situations.”) (citing Key Tronic

Corp. v. United States, 511 U.S. 809 (1994)).

       An examination of other statutes demonstrates that Congress is able to prescribe sliding-

scale penalties when it so chooses. Citing a provision of the ERISA statute, the court in Bunk II

recognized that law’s provision that penalties for violation of a certain notification provision can

be “in the court’s discretion...in the amount of up to $100 a day.” 2012 WL 488256, at *12

(citing 29 U.S.C. §1132(c)(1)(B)). This “up to” variable language is absent in the FCA, which

gives “the courts the limited discretion to determine the amount of that penalty only within the

minimum-maximum range.” Id. The Bunk court declined to rewrite the FCA to implement a

penalty scheme that Congress did not enact. See id.

       Because in Bunk, as here, the Government’s requested civil penalty violates the Eighth

Amendment’s prohibition on excessive fines, the Court should not award any civil penalties.

III.   THE GOVERNMENT MISSTATES THE NUMBER OF CLAIMS

       The Court need not reach the constitutional issue of whether $119,515,000 in penalties is

excessive or violates Tuomey’s due process rights, however, because the Government has


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misstated the number of claims for which penalties may apply. The maximum number of claims

that the Government even attempted to offer evidence about is four – not 21,730. Imposing a

penalty of the proposed $5,500 for four claims, for a total of $22,000, would not violate the

Constitution.

       If any false claims were submitted (and they were not) and the Government offered

competent evidence of those claims (which it did not), the only ones relevant would be the

Medicare cost reports filed by Tuomey and not the UB-92/UB-04 forms that were the source of

the information summarized by Mr. Steck. Other courts in health care FCA cases involving cost

reports, as this case does, have held that the actual “claims” were the cost reports, not the UB-92

or UB-04 forms. For example, one district court rejected the Government’s claim that each

UB-92 form should be counted as a false claim, holding that such forms “were false or

fraudulent because, and only because, the Providers’ cost reports were false” and therefore “the

government is entitled to recover statutory penalties under the FCA only for the Providers’

submission of ‘false or fraudulent’ cost reports.”      Visiting Nurse Ass’n v. Thompson, 378

F.Supp.2d 75, 99 (E.D.N.Y. 2004); see also U.S. ex rel. Hockett v. Columbia/HCA Healthcare

Corp., 498 F.Supp.2d 25, 70-71 (D.D.C. 2007) (“factually accurate UB-92 did not constitute

submission of a false claim simply because of underlying fraud at the health care facility. But

that fraud was not truly consummated until the cost report was submitted. It is the cost report that

contained the false statements, did the damage, and completed the fraud.”); U.S. ex rel.

Augustine v. Century Health Services, 289 F.3d 409, 414-415 (6th Cir. 2002) (cost report filed by

home health agency found to constitute false certification.).

       The Government only presented the certification pages from four Tuomey cost reports

(Plaintiff’s Ex. 290-292). This is not sufficient proof of what the cost reports said. But even




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giving the Government the benefit of the doubt that these certification pages constituted evidence

of false claims, at most there was only evidence of four claims that could be relevant for the

purposes of establishing an FCA violation.

       A similar approach has been adopted by other courts. In Hays v. Hoffman, 325 F.3d 982

(8th Cir. 2003), the Eighth Circuit, on its own motion, rejected the district court’s determination

on the number of claims due to evidence presented at trial that was “woefully inadequate for this

purpose.” Id. at 993. The determination of the number of claims was based primarily on the

testimony of an auditor who had no firsthand knowledge of how the nursing homes whose claims

were at issue were reimbursed by Medicaid, and who testified about cost reports that were never

admitted into evidence.    The Eighth Circuit rejected the district court’s determination that

336 false claims were submitted and reduced the number to eight. See also United States ex rel.

Smith v. Gilbert Realty, 840 F.Supp. 71, 74-75 (E.D. Mich. 1993) (where fine based on 58 false

claims would be excessive, court reduced number of false claims to the seven certifications

defendants made to the government and imposed a civil penalty for those seven claims); United

States v. Advance Tool Co., 902 F.Supp. 1011, 1017-18 (W.D. Mo. 1995) (case where no

damages to the government, but 686 false claims submitted, minimum statutory fine would be

unconstitutional; court reduced number of false claims to 73 – representing each type of tool that

did not meet quality standards – and imposed the minimum civil penalty for each), aff’d on other

grounds, 1996 U.S. App. LEXIS 13238 (8th Cir. 1996) (per curiam) (unpublished).

       As Bunk II recognized, “the FCA does not explicitly state that a civil penalty is to be

assessed per false claim,” but instead “states only that someone who violates the statute by

engaging in certain conduct is ‘liable for a civil penalty between $5,500 and $11,000.’” 2012

WL 488256, at *14. Equally applicable here, “[t]hat language, on its face, permits an alternative




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reasonable interpretation,” including “that a civil penalty should be applied for each act that

violated the statutory prohibition, which, as applied in this case, is each a factually false

statement, not each claim paid as a result of that false statement.” Id. The Bunk court found one

statement, a false certification made in a bid document to the military, factually false and

awarded civil penalties based on that one statement. Id.

         Applying the cost report approach – should the Government establish liability, of course

– the civil penalties would be $22,000: the $5,500 per claim penalty sought by the Government

times the four cost report certifications that it entered into evidence. 14

                                              CONCLUSION

         The Government’s requested penalties in this case bear no relationship to the alleged

harm in this case. Each of the patients at issue received excellent medical care, for which the

Government was obligated to pay in the amount it did pay, and thus the Government has not

been damaged. This case is but one in a long line of False Claims Act cases, culminating with

Bunk, in which the Government’s requested penalties are at odds with the Constitution and

fundamental fairness. See, e.g., United States v. Krizek, 111 F.3d 934, 940 (D.C. Cir. 1997)

(recognizing unfairness of a civil penalty in an FCA case when “the government’s definition of

claim permitted it to seek an astronomical $81 million worth of [penalties] for alleged actual

damages of $245,392”).

         The Government is not entitled to the trebling of any damages in this case, since it has

not met its burden of proving any financial loss – i.e., damages – to the Government. Moreover,


14
         Actually, two of the four cost reports have been deemed to be final by CMS through its intermediary
         Palmetto GBA. Affidavit of Mark Lovell. This decision was made with knowledge of the allegations in
         this case, and is final. 42 C.F.R. §405.1807. The Government is therefore estopped from seeking recovery
         under the FCA for reimbursement it has already approved, with full knowledge of the facts. The other two
         cost reports are not final and therefore cannot be claims that were paid in violation of the FCA.



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an award of “treble damages” totaling $117,939,195.00 when the Government has not suffered

any financial loss is barred by the Eighth Amendment Excessive Fines provision and the Due

Process clause of the Fifth Amendment.

       Likewise, the Government is not entitled to the imposition of penalties under the FCA,

for a number of reasons. The imposition of the proposed penalties would violate the excessive

fines provision of the Eighth Amendment and due process provisions of the Fifth Amendment,

and the FCA does not give the Court the discretion to reduce the statutory fines below a

minimum of $5,500 per penalty. In the alternative, the actual number of false claims submitted

by Tuomey was not 21,730 as asserted by the Government, but rather four, because the

UB-92/UB-04 forms relied on by the Government for its claims count do not in fact constitute

claims. Final cost reports submitted annually to Medicare constitute claims.




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                                        Respectfully submitted,



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